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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


EUGENE KOTZ II                                                        Case # 22-cv-00005


Plaintiff

v.

T-MOBILE USA, INC.

Defendant

________________________________/

                              NOTICE OF A RELATED ACTION

        Under Local Rule 1.07(c), “lead counsel has a continuing duty to notify the judge of a

related action pending in the Middle District or elsewhere.” But for removal cases, the parties

need not identify the original state-court proceeding in this Notice. Notwithstanding the

instruction in the Uniform Case Management Report, a Notice of Related Action must be filed in

all cases in the Fort Myers Division, even if no related action exists.

        Counsel and unrepresented parties must also inform the Court about any related cases

previously filed with any court or administrative agency. And counsel and unrepresented parties

have a continuing duty to promptly inform the Court of any newly filed similar or successive cases

by filing an Amended Notice.

        I certify that the above-captioned case:




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    ☒      IS related to pending or closed civil or criminal case(s) previously filed in this Court,
           or any other federal or state court, or administrative agency as indicated below:

           1:21-cv-23545 Eddie Mendez v. T-Mobile USA, Inc.
           Southern District of Florida

           1:21-cv-61653 Kevin Frye v. T-Mobile USA, Inc.
           Southern District of Florida

           These cases are related in that there is a common defendant, and causes of action, and
           the possibility of a multi-district litigation in the future exists due to the numerosity
           of the plaintiffs.



           IS NOT related to any pending or closed civil or criminal case filed with this Court,
           or any other federal or state court, or administrative agency.
    ☐


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and complete copy of this document was
electronically filed with the clerk of courts in Middle District of Florida on the 7th day of
January 2022.

                                              Respectfully submitted,

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                                              Fort Lauderdale, FL 33316
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                                              /s/Glen H. Shrayer

                                               Glen H. Shrayer, Esq.




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